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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
DJ Joseph St. John,                           )
                                              )      Case No. 1:06-cr-061
               Defendant.                     )

       Special Condition (4)(d), as set forth in the Modified Order Setting Conditions of Release

(Docket No. 34), shall be modified as follows:

       Defendant shall reside at the Bismarck Transition Center, Centre, Inc., or other residence as
       designated by the Pretrial Services Office and abide by all rules and regulations which these
       facilities may set forth in connection with the defendant's presence.

All other conditions of release remain in effect.

       IT IS SO ORDERED.

       Dated this 3rd day of January, 2007.


                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr.
                                                     United States Magistrate Judge
